9:21-cr-00317-CRI   Date Filed 10/14/21   Entry Number 48   Page 1 of 9
9:21-cr-00317-CRI   Date Filed 10/14/21   Entry Number 48   Page 2 of 9
9:21-cr-00317-CRI   Date Filed 10/14/21   Entry Number 48   Page 3 of 9
9:21-cr-00317
        9:21-cr-00317-CRI
              *SEALED* Date
                          DateFiled
                                Filed10/13/21
                                      10/14/21 Entry
                                                EntryNumber
                                                      Number3948*SEALED*
                                                                   Page 4 of Page
                                                                             9    4 of
                                           9
9:21-cr-00317
        9:21-cr-00317-CRI
              *SEALED* Date
                          DateFiled
                                Filed10/13/21
                                      10/14/21 Entry
                                                EntryNumber
                                                      Number3948*SEALED*
                                                                   Page 5 of Page
                                                                             9    5 of
                                           9
9:21-cr-00317-CRI   Date Filed 10/14/21   Entry Number 48   Page 6 of 9
9:21-cr-00317
        9:21-cr-00317-CRI
              *SEALED* Date
                          DateFiled
                                Filed10/13/21
                                      10/14/21 Entry
                                                EntryNumber
                                                      Number3948*SEALED*
                                                                   Page 7 of Page
                                                                             9    7 of
                                           9
9:21-cr-00317
        9:21-cr-00317-CRI
              *SEALED* Date
                          DateFiled
                                Filed10/13/21
                                      10/14/21 Entry
                                                EntryNumber
                                                      Number3948*SEALED*
                                                                   Page 8 of Page
                                                                             9    8 of
                                           9
9:21-cr-00317
        9:21-cr-00317-CRI
              *SEALED* Date
                          DateFiled
                                Filed10/13/21
                                      10/14/21 Entry
                                                EntryNumber
                                                      Number3948*SEALED*
                                                                   Page 9 of Page
                                                                             9    9 of
                                           9
